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                        UNITED STATES DISTRICT COURT

                        EASTERN DISTRICT OF LOUISIANA

PRINCESS DENNAR, M.D.                       *   CIVIL ACTION

VERSUS                                      *   NO. 2:20-cv-2679

THE ADMINISTRATORS OF THE                   *   JUDGE GREG GERARD GUIDRY
TULANE EDUCATIONAL FUND
                                            *   MAGISTRATE KAREN WELLS ROBY

                                            *

                                        ORDER

      Considering the Motion to Withdraw (R. Doc. 34);

      IT IS ORDERED that Abigail F. Gerrity (35777) be removed as counsel of record for

Princess Dennar, M.D.

      New Orleans, Louisiana, this _______               April
                                    23rd day of ________________________, 2021.



                                         __________________________________________
                                         _ UNITED STATES DISTRICT JUDGE
